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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                       Case No.
         v.
                                                       VIOLATION:
 GEORGE HAYWOOD,
                                                       15 U.S.C. § 78j(b) (Insider Trading)
                         Defendant.


                                         INFORMATION

       The United States Attorney charges that, at all times relevant to the charged offense:

                                           COUNT ONE

       On or about January 22, 2020, in the District of Columbia and elsewhere, the Defendant

GEORGE HAYWOOD, did willfully, and knowingly, directly and indirectly, by use of the means

and instrumentalities of interstate commerce, and of the mails and the facilities of national

securities exchanges, use and employ, in connection with the purchase and sale of securities,

manipulative and deceptive devices and contrivances, in violation of Title 17, Code of Federal

Regulations, Section 240.l0b-5, by (a) employing devices, schemes, and artifices to defraud; (b)

making untrue statements of material facts and omitting to state material facts necessary in order

to make the statements made, in the light of the circumstances under which they were made, not

misleading; and (c) engaging in acts, practices, and courses of business which operated and would

operate as a fraud and deceit upon persons, to wit: by executing and causing others to execute

securities transactions in the securities of Neurotrope, Inc. on the basis of material nonpublic

information concerning Neurotrope, Inc. in breach of a duty of trust and confidence that was owed

directly, indirectly, and derivatively to the issuers of those securities, the shareholders of the

issuers, and to other persons who were the source of the material nonpublic information.

       (Insider Trading, in violation of 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5)
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                                FORFEITURE ALLEGATION

       As the result of committing the offense constituting fraud in the sale of securities, a

specified unlawful activity as defined in Title 18 United States Code Section 1956(c)(7), as alleged

in Count One of this Information, defendant GEORGE HAWYOOD shall forfeit to the United

States, pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States

Code, Section 2461(c), all property, real and personal, that constitutes or is derived from proceeds

traceable to the commission of the securities fraud offenses, and all property traceable thereto. If

any of the above-described forfeitable property, as a result of any act or omission of the defendant:

               a.      Cannot be located upon the exercise of due diligence;
               b.      Has been transferred or sold to, or deposited with, a third person;
               c.      Has been placed beyond the jurisdiction of the Court;
               d.      Has been substantially diminished in value; or
               e.      Has been commingled with other property which cannot be subdivided
                       without difficulty;

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21 United

States Code, Section 853(p), as incorporated by Title 28 United States Code, Section 2461(c).

                       (Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C),
                          28 U.S.C. § 2461(c) and 21 U.S.C. § 853(p))

                                              Respectfully submitted,
                                              MATTHEW M. GRAVES
                                              Acting United States Attorney



                                      By:     /s/Elizabeth A. Aloi
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                                              JOHN W. BORCHERT (Bar No. 472824)
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July 7, 2022                                  (202) 252-7212 (Aloi)



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